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                      EXHIBIT A
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      Calculation of Cure Amount and corresponding Lease Section(s):



1.      Unpaid Rent for August 2023:                       $14,226.97
        See Section 6 and various amendments to Lease:

4.      Unpaid Property Taxes for 2023:                    $102,695.90
        See Section 7 and various amendments to Lease:

5.      Attorneys’ fees and expenses:                      $10,462.00

TOTAL CURE AMOUNT AS OF NOVEMBER 8, 2023:                  $127,384.87
